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WOODS HOLE, MA 02543

 

 

Vesse| Name: MV l¥ANOUGH USCG Doc. No.: 1185366

Vessel Service: PASSENGER (|NSPECTED) |lV|O Number: *

Trade |ndicator: Coastwise Unrestricted Cal| Sign; WDD4527
Hu|| Materia|: ALUM|NUM Hu|| Number: P-357
Ship Bui|der: * Year Bui|t: 2006

Length (ft.): 144.5

Hai|ing Port: WOODS HOLE MA Hu|| Depth (ft.): 12.6
MASSACHUSETTS
COMMONWEALTH OF Hu|| Breadth (ft.): 39
WOODS HOLE MARTHA'S
V|NEYARD AND

Owner: NANTUCKET STEAMSH|P Gross Tonnage: 98

AUTHOR|TY 228 PALMER
AVENUE(FALMOUTH) PO '
BOX 284 Net Tonnage: 66

 

Documentation |ssuance
Date:

January 04, 2018

Documentation Expiration
Date:

January 31, 2019

 

Previous Vessel Names:

 

No Vessel Name Changes

 

 

 

Previous Vessel Owners:

MASSACHUSETTS
COMNKMMNEA[H+OF
MASSACHUSETTS
COMNK»MNEAEHIOF
MASSACHUSETTS
COMMONWENIHOF
MASSACHUSETTS
COMMONWENJHOF
MASSACHUSETTS
COMMONWENIHOF
MASSACHUSETTS
COMMONWENJHOF
MASSACHUSETTS
COMNKMMNEA[H{OF
MASSACHUSETTS
CONMMIUNEA[HIOF
MASSACHUSETTS
COMNK»MNEA[H+OF
MASSACHUSETTS
COMMONWEALH{OF
MASSACHUSETTS
COMNKNMNEA[HJOF
MASSACHUSETTS
CONMMIUNEAEHIOF
MASSACHUSETTS
COMNKNMNEAEH+OF
MASSACHUSETTS

 

COMMONWEALTH OF

 

 

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